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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                            Case No. 22-17842-PDR
VITAL PHARMACEUTICALS, INC., et al.,
                                                            Chapter 11
                  Debtor.
_________________________________________/

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that Ross R. Hartog, Esq. of the law firm of Markowitz,

Ringel, Trusty, & Hartog, P.A., hereby files his appearance as local counsel on behalf of creditor,

Faith Technologies Incorporated, and requests that all pleadings be served upon him as follows:

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing was served on all counsel of record

or pro se parties identified on the attached Service List via the Court’s CM/ECF notification to

those parties who are registered CM/ECF participants in this case on November 10, 2022.

Dated November 10, 2022               Markowitz, Ringel, Trusty & Hartog, P.A.
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                               In re Vital Pharmaceuticals, Inc.
                                   Case No. 22-17842-PDR
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